                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION


SECURITIES AND EXCHANGE COMMISSION,             )
                                                )
                                                )
       Plaintiff,                               )
                                                )
vs.                                             )                    ORDER
                                                )                    No. 3:12-CV-519
REX VENTURE GROUP, LLC                          )
d/b/a ZEEKREWARDS.COM, and PAUL BURKS,          )
                                                )
       Defendants.                              )
                                                )
________________________________________________)

       This matter is before the Court upon Paymentworld, LLC’s (“Paymentworld”) Motion for

a Protective Order, filed on July 11, 2016. (Doc. No. 535). Paymentworld seeks to have the

court postpone the deposition of Roman Balanko, Paymentworld CEO, currently set for August

16, until such time as two pending motions filed in a related California state-court action can be

resolved. The Court is informed that one of those motions, a motion to intervene filed by the

Receiver, has already been decided in the Receiver’s favor. The Court has read the briefs and

finds that PaymentWorld has failed to meet its heavy burden to establish good cause. See Fed. R.

Civ. Pro. 26(c); Minter v. Wells Fargo Bank, N.A., 258 F.R.D. 118, 124-25 (D.Md. 2009).

Accordingly,

       IT IS THEREFORE ORDERED that Paymentworld’s Motion for a Protective Order is

hereby DENIED.

                                       Signed: August 9, 2016




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